     Case: 1:18-cv-00396 Document #: 8 Filed: 01/26/18 Page 1 of 3 PageID #:103




                            UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION

 KI CHUL SEONG, an individual, and
 OPEC ENGINEERING CO., LTD., a
 Korean Corporation

 Plaintiffs

              v.
                                                   CASE NO.: 18 CV 396
 BEDRA, INC., an International Foreign
 Corporation Registered to do Business
 in Paramus, New Jersey;
 ALTERNATIVE MACHINE TOOLS,
 LLC., a Wisconsin Corporation; EDM
 PERFORMANCE ACCESSORIES, a
 California Corporation; NINGBO
 BODE HIGH-TECH CO., LTD., a
 Chinese Corporation; and DOES 1
 through 10, inclusive,

        Defendants



                   MOTION TO TRANSFER TO JUDGE MANISH SHAH

       NOW COME the Plaintiffs by and through their attorney, SAMUEL S. BAE, and for their

Motion to Transfer to Judge Manish Shah state as follows:

       1.       This cause involves claims for patent infringements against certain defendants

named herein.

       2.       Plaintiffs have another case pending before Judge Manish Shah under case number

15-CV-2234 entitled Seong v. PAPS USA, Inc., et al. Plaintiffs patents and their claims for patent
     Case: 1:18-cv-00396 Document #: 8 Filed: 01/26/18 Page 2 of 3 PageID #:104



infringements in the case at bar are identical or substantially similar to the case pending before

Judge Shah. The only difference between the two cases are different defendants involved.

          3.     Judge Shah has been presiding over the earlier case which remains pending and

undetermined. Judge Shah is familiar with the patents involved and the claims for patent

infringements. In light of Judge Shah’s familiarity with the plaintiffs’ patents and claims for patent

infringements, transferring the case at bar to Judge Shah would benefit the litigants as well as the

courts.

          WHEREFORE, Plaintiffs request that the case at bar be transferred to Judge Shah and for

any other relief this court deems appropriate under the circumstances.

                                                      Respectfully submitted,

                                                      By: /s/ Samuel S. Bae___

                                                      Samuel S. Bae (ARDC 6257863)
                                                      Law Office of Samuel S. Bae
                                                      2720 South River Road, Suite 246
                                                      Des Plaines, Illinois 60018
                                                      (847) 813-6992
                                                      ssb@baelegal.com
     Case: 1:18-cv-00396 Document #: 8 Filed: 01/26/18 Page 3 of 3 PageID #:105



                                CERTIFICATE OF SERVICE

       The undersigned attorney certifies that a copy of the foregoing was electronically filed and

served via the court’s CM/ECF system on this 26th day of January 2018.



                                                     By: /s/ Samuel S. Bae___

                                                     Samuel S. Bae (ARDC 6257863)
                                                     Law Office of Samuel S. Bae
                                                     2720 South River Road, Suite 246
                                                     Des Plaines, Illinois 60018
                                                     (847) 813-6992
                                                     ssb@baelegal.com
